            Case 1:19-cv-03270-JTR                  ECF No. 17        filed 11/09/20       PageID.843 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON
                                                                  for thH_
                                                     Eastern District of Washington
                                                                                                              Nov 09, 2020
                       ALEXANDRA P.,                                                                           SEAN F. MCAVOY, CLERK


                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:19-CV-03270-JTR
                                                                     )
  ANDREW M. SAUL, COMMISSIONER OF SOCIAL                             )
                SECURITY,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 13, is GRANTED IN PART. Defendant’s Motion for Summary
u
              Judgment, ECF No. 14, is DENIED. The matter is REMANDED to the Commissioner for additional proceedings
              consistent with this Court's Order at ECF No. 16. Judgment is entered for Plaintiff.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge               John T. Rodgers                                               on motions for summary judgment.




Date: November 9, 2020                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Pam Howard
                                                                                           %\ Deputy Clerk

                                                                            Pam Howard
